
Perkins, J.
— “ We concur in the judgment of the Circuit Court. We think the facts set out by Lee Isaac, prima facia evidence of an arrangement, by which the matters in dispute were finally settled as to him. If not, why was he discharged, and George W. Levis substituted for him in the judgment? Why discharged at all? If it - was intended to hold him liable, why not then take judgment against him, instead of leaving him ‘out’ only to be harassed by a second suit? There must have been some reason for the transaction. The plaintiff has not explained what it was, to enable us to judge of its character. Prima facia, we think the facts indicate, that Lee Isaac was to be finally discharged.”
Judgment affirmed, &amp;c.
